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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                                      §            CASE NO. 07-10416-KJC
                                                            §
NEW CENTURY TRS HOLDINGS, INC.,                             §            Chapter 11
ET. AL.,                                                    §
                                                            §            Jointly Administered
           Debtors.                                         §
                                                            §            Related to Docket No. ____

    ORDER GRANTING MOTION OF POSITIVE SOFTWARE SOLUTIONS, INC. FOR
             RELIEF FROM THE STAY REGARDING COPYRIGHT
                      INFRINGEMENT LITIGATION

           Upon the Motion (the “Motion”)1 of Positive Software Solutions, Inc. (“Positive

Solutions”) for Relief from the Stay Regarding Copyright Infringement Litigation; and upon

consideration of any and all objections and/or responses that were filed in opposition to the

Motion; and notice of the Motion being adequate and sufficient; and after due deliberation and

sufficient cause appearing therefore; it is hereby

ORDERED THAT:

           1.       The Motion is granted.

           2.       The automatic stay is modified to permit the District Court Action to proceed to a

final adjudication, including any future injunctive, arbitration, or appellate proceedings that may

be involved.




1
    Capitalized terms not defined herein shall have the meaning given to them in the Motion.


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       3.      Positive Software is permitted to seek recovery on any monetary judgment

granted in its favor from non-Debtor sources of recovery, including commercial liability polices

held by New Century or other Debtors and from any non-Debtor third-parties that may be co-

liable with the Debtors.



Dated: July ___, 2007


                                                   The Honorable Kevin J. Carey
                                                   United States Bankruptcy Judge




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